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                           UNITED STATE DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA

                             Case No. 6:23-MJ-01408-RMN


UNITED STATES OF AMERICA,

              Plaintiff,

vs.

SERGEY KARPUSHKIN,

            Defendant.
_______________________________/

                    TEMPORARY NOTICE OF APPEARANCE


      COMES NOW DAVID M. EDELSTEIN and files this temporary notice of
appearance as counsel for the above-named defendant. This appearance is made with the
understanding that the undersigned counsel will fulfill any obligations imposed by the
Court such as preparing and filing documents necessary to collateralize any personal
surety bond which may be set.


      I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished to
all counsel of record via transmission of notices of electronic filing generated by
CM/ECF, on this 22nd day of April 2023.
                                                  Respectfully submitted,
                                                  The Edelstein Firm
                                                  4770 Biscayne Blvd., Ste. 1250
                                                  Miami, Florida 33137
                                                  Tel: 305.538.4545
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                                                  BY:       s/David M. Edelstein
                                                            David M. Edelstein
                                                            Florida Bar No: 063665
                                                            Attorney for Defendant
